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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 15-92V
                                   Filed: November 17, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
LAURIE DART,                  *
                              *                             Special Master Gowen
          Petitioner,         *
                              *                             Joint Stipulation on Damages and
v.                            *                             Attorneys’ Fees and Costs
                              *                             Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH           *                             Transverse Myelitis.
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Diana Stadelnikas Sedar, Maglio, Christopher & Toale, PA, Sarasota, FL, for petitioner.
Adriana R. Teitel, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On January 30, 2015, Laurie Dart (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged
that as a result of receiving an influenza (“flu”) vaccine on October 17, 2013, she developed
transverse myelitis (“TM”). Stipulation for Award at ¶ 2, 4, docket no. 16, filed Nov. 12, 2015.
Further, petitioner alleged that she experienced residual effects of her injury for more than six
months. Id. at ¶ 4.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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         On November 12, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccination caused
petitioner’s TM or any other injury or condition. Id. at ¶ 6. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable
and adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

        The parties also stipulate to an award of attorneys’ fees and costs in a joint stipulation filed
on November 16, 2015. The parties agree to a total award of attorneys’ fees and costs in the amount
of $11,500.00. Stipulation for Fees at ¶ 5, docket no. 17, filed Nov. 16, 2015. In accordance with
General Order #9, petitioner represents that she did not personally incur costs related to this
proceeding. Declaration, docket no. 18, filed Nov. 16, 2015. The undersigned finds the stipulation
for fees and costs reasonable and adopts it as the decision of the Court.

       The parties stipulate that petitioner shall receive the following compensation:

       1) A lump sum of $90,000.00, in the form of a check payable to petitioner, Laurie
          Dart. This amount represents compensation for all damages that would be
          available under 42 U.S.C. § 300aa-15(a).

       2) A lump sum of $11,500.00, in the form of a check jointly payable to petitioner and
          to petitioner’s attorney, Diana Stadelnikas Sedar of Maglio, Christopher & Toale,
          PA, pursuant to 42 U.S.C. § 300 aa-15(e), for attorneys’ fees and costs.

       Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation and
attorneys’ fees and costs. Accordingly, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                   2
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                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF THE SPECIAL MASTERS

LAURIE DART,

           Petitioner,
vs.                                                     CASE NO. 15-92V
                                                        Special Master Gowen

SECRETARY OF HEALTH AND HUMAN
SERVICES,

      Respondent.
___________________________________/

                         STIPULATION OF ATTORNEYS’ FEES AND COSTS


      1.      Diana L. Stadelnikas-Sedar is counsel for Petitioner in this case.
      2.      Petitioner submitted a draft Application for Attorneys’ Fees and Costs to
              Respondent’s counsel.
      3.      During informal discussions, Respondent raised objections to certain items in
              Petitioner’s draft application. Based on these discussions, Petitioners amended the
              Application for Attorneys’ Fees and Costs to request reimbursement in the amount of
              $11,500.00. Respondent does not object.
      4.      Pursuant to General Order #9, Petitioner has not incurred any costs in pursuit of the
              claim.
      5.      The parties now request that a decision awarding the final attorneys’ fees and costs in
              the amount of $11,500.00, payable to Petitioner and Petitioner’s counsel, Diana L.
              Stadelnikas-Sedar be issued.
      6.      Petitioner requests that the award for attorney’s fees and costs be forwarded to
              Maglio Christopher & Toale, PA, 1605 Main Street, Suite 710, Sarasota Florida
              34236.
      7.      Nothing in this Stipulation, including the amount set forth in paragraph 3, should be
              construed as an admission, concession, or waiver by either party as to any of the
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          matters raised by Petitioner’s Application for Fees and Costs, including but not
          limited to the hourly rates requested.


   Respectfully submitted:


ATTORNEY FOR PETITIONER                            ATTORNEY FOR RESPONDENT
/s/ Diana L. Stadelnikas Sedar, Esq.               /s/Adriana Ruth Teitel, Esq.
Diana L. Stadelnikas Sedar, Esq.                   Adriana Ruth Teitel, Esq.
Florida Bar Number 0949061                         Trial Attorney
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fax: 877-952-5042                                  Washington, D.C. 20044-0146
Attorney for the Petitioner                        Attorney for the Respondent


Dated: November 16, 2015
